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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


    In re:
                                                                  Chapter 11
    BARFLY VENTURES, LLC, et             al,1                     Case No. 20-01947-jwb
                                                                  Hon. James W. Boyd
                             Debtors.
                                                                  Jointly Administered
    ______________________________________/

                                        CERTIFICATE OF SERVICE

             I hereby certify that on December 22, 2020 I filed the Official Committee of Unsecured

Creditors’ Objection to Claim No. 108 Filed by Mark Sellers III (the “Objection”) with the Clerk

of the Court for the United States Bankruptcy Court for the Western District of Michigan using

the CM/ECF System, which sent notification of such filing to all attorneys and parties of record

registered electronically.

             I further certify that I served the Objection by electronic mail, on December 22, 2020, on:

(i) Mark A. Sellers, III at: mark@barflyventures.com; and (ii) Rachel L. Hillegonds at:

hillegondsr@millerjohnson.com.




1 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).




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         Finally, I certify that I served a copy of the Objection on December 22, 2020, via first class

mail, on: Rachel L. Hillegonds, Miller Johnson, P.O. Box 306, Grand Rapids, MI 49501.

                                                Respectfully submitted by,

Dated: December 22, 2020                        JAFFE RAIT HEUER & WEISS, P.C.

                                                By:    /s/ Paul R. Hage
                                                Paul R. Hage (P70460)
                                                27777 Franklin Road, Suite 2500
                                                Southfield, MI 48034
                                                (248) 351-3000
                                                phage@jaffelaw.com

                                                -and-

                                                SUGAR FELSENTHAL GRAIS &
                                                HELSINGER, LLP

                                                Michael A. Brandess
                                                30 N. LaSalle Street, Suite 3000
                                                Chicago, IL 60602
                                                (312) 704-9400
                                                mbrandess@sfgh.com

                                                Counsel for the Official Committee of Unsecured
                                                Creditors of Barfly Ventures, LLC




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